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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE


                                         C.A. No. 17-cv-83-GBW
 3G LICENSING, S.A.,
 KONINKLIJKE KPN N.V., and               JURY TRIAL DEMANDED
 ORANGE, S.A.,

                    Plaintiffs,

              v.

 HTC Corporation,

                    Defendant.


                    [PLAINTIFFS’ PROPOSED] VERDICT FORM
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       Instructions: When answering the following questions and completing this Verdict Form,

please follow the directions provided throughout the form. Your answer to each question must be

unanimous. Please refer to the Final Jury Instructions for guidance on the law applicable to each

question.

       In this Verdict Form, “3G Licensing” refers to 3G Licensing, S.A. and “HTC” means

defendant HTC Corporation.




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                            QUESTIONS AND ANSWERS

 I.   Infringement

      A.    U.S. Patent No. 6,856,818 (“the’818 Patent”)

      1.    Has 3G Licensing proven by a preponderance of the evidence that HTC directly

            infringed any of the following claims of the ’818 Patent?

            For each asserted claim please check “Yes” or “No” below. A “Yes” answer is a
            finding for 3G Licensing. A “No” answer is a finding for HTC.

                                             Yes                        No

             a.      Claim 18                ____________               ____________

             b.      Claim 19                ____________               ____________

             c.      Claim 22                ____________               ____________

             d.      Claim 23                ____________               ____________

      2.    Has 3G Licensing proven by a preponderance of the evidence that HTC induced

            the infringement of any of the following claims of the ’818 Patent?

            For each asserted claim please check “Yes” or “No” below. A “Yes” answer is a
            finding for 3G Licensing. A “No” answer is a finding for HTC.

                                             Yes                        No

             a.      Claim 18                ____________               ____________

             b.      Claim 19                ____________               ____________

             c.      Claim 22                ____________               ____________

             d.      Claim 23                ____________               ____________




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       B.     U.S. Patent No. 7,995,091 (“the ’091 Patent”)

       3.     Has 3G Licensing proven by a preponderance of the evidence that HTC directly

              infringed any of the following claims of the ’091 Patent?

              For each asserted claim please check “Yes” or “No” below. A “Yes” answer is a
              finding for 3G Licensing. A “No” answer is a finding for HTC.

                                               Yes                        No

               a.      Claim 1                 ____________               ____________

               b.      Claim 2                 ____________               ____________

               e.      Claim 6                 ____________               ____________

               f.      Claim 7                 ____________               ____________



If you answered “No” to all of these Questions 1–3 do NOT answer any other questions, leave

the remaining questions unanswered and go to the final page of the Verdict Form.




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II.   Invalidity

      4.     Has HTC proven by clear and convincing evidence that any of the following

             claims of the ’818 Patent is invalid?

             For each asserted claim please check “Yes” or “No” below. A “Yes” answer is a
             finding for HTC. A “No” answer is a finding for 3G Licensing.

                                               Yes                   No

              a.      Claim 18                 ____________          ____________

              b.      Claim 19                 ____________          ____________

              c.      Claim 22                 ____________          ____________

              d.      Claim 23                 ____________          ____________

      5.     Has HTC proven by clear and convincing evidence that any of the following

             claims of the ’091 Patent is invalid?

             For each asserted claim please check “Yes” or “No” below. A “Yes” answer is a
             finding for HTC. A “No” answer is a finding for 3G Licensing.

                                               Yes                   No

              a.      Claim 1                  ____________          ____________

              b.      Claim 2                  ____________          ____________

              e.      Claim 6                  ____________          ____________

              f.      Claim 7                  ____________          ____________




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Answer Question 6 only if you found one or more of the asserted claims to be infringed in
Questions 1–3 and you did not find the infringed claim(s) to be invalid in Questions 4–5.

III.   Damages

       6.     What is the total amount that 3G Licensing has proven by a preponderance of

              the evidence that it is entitled to be paid to fairly compensate it for HTC’s

              infringement through December 2018?

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Answer Question 7 only if you found one or more of the asserted claims to be infringed in
Questions 1–3 and you did not find the infringed claim(s) to be invalid in Questions 4–5.

IV.    Willfulness

       7.     Has 3G Licensing proven by a preponderance of the evidence that HTC willfully

              infringed any asserted claim?

              A “Yes” answer is a finding for 3G Licensing. A “No” answer is a finding for
              HTC.

                                               Yes                     No

                                               ____________            ____________




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                               Unanimous Verdict

______________________
Date



Foreperson



Juror



Juror



Juror



Juror



Juror



Juror



Juror




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